                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE


Federal National Mortgage Association                CIVIL ACTION NO: 1:22-cv-00361-NT

                 Plaintiff                           [PROPOSED] ORDER DENYING
                                                     DEFENDANT’S MOTION OBJECTING
                                                     TO USE OF REQUEST FOR
                                                     ADMISSIONS AT TRIAL


                         vs.                         RE: VACANT REAL PROPERTY
                                                     14 Middle Street, Randolph, ME 04346

Melissa J. Schultz-Nielsen a/k/a Melissa J.          Mortgage:
Andrews a/k/a Melissa J. Freeman and                 September 20, 2001
Lars E Schultz-Nielsen                               Book 6638, Page 183


                 Defendants
HSBC Mortgage Services
Citibank South Dakota, NA
Capital One Bank USA NA
Lars E Schultz-Nielsen
              Party-In-Interest



        Upon review of the Defendant’s Motion Objecting to Use of Request for Admissions at

Trial [ECF No. 37] and Plaintiff ’s Response to Defendant’s Motion Objecting to Use of Request for

Admissions at Trial, this Honorable Court finds that the Scheduling Order in this matter was issued

July 19, 2023 [ECF No. 20]. Plaintiff ’s Response to Defendant’s Motion Objecting to Use of

Request for Admissions at Trial and Plaintiff ’s Affidavit in support of same reflect that Plaintiff ’s

Request for Admissions were sent to the Defendant on October 3, 2023 via regular mail. See Exhibit

A of Affidavit of Kristine DelGenio in Support of Response to Defendant’s Motion Objecting to

Use of Request for Admissions. The Scheduling Order provided a deadline of December 6, 2023

for completion of discovery. Counsel for Plaintiff filed a final pre-trial memorandum on January 30,
2024, which listed Plaintiff ’s Request for Admissions from Defendant as a proposed trial exhibit.

On February 7, 2024, a final pre-trial conference was held via zoom video conference wherein

counsel for Plaintiff and Defendant, Melissa J. Schultz-Nielsen a/k/a Melissa J. Andrews a/k/a

Melissa J. Freeman appeared. At that time, no issues or objections were raised regarding the

proposed trial exhibits. On February 28, 2024, the undersigned counsel for Plaintiff filed a

supplemental pretrial memorandum, in which Plaintiff listed its proposed trial exhibits which

included Plaintiff ’s Requests for Admissions to Defendant as a proposed trial exhibit. On March 6,

2024, a pretrial conference was held and Attorney Doonan appeared for the Plaintiff and Defendant

Melissa J. Schultz-Nielsen a/k/a Melissa J. Andrews a/k/a Melissa J. Freeman appeared. [ECF No.

36] Again, no issues or objections were raised at the latest pre-trial conference regarding Plaintiff ’s

proposed trial exhibits. On April 1, 2024, Defendant filed a Motion Objecting to the Use of the

Request for Admissions at Trial, in which she states she objects to the use of the Plaintiff ’s Request

for Admissions at Trial because she never received the Request for Admissions from Plaintiff ’s

counsel and was unable to respond to something that she states she did not receive. On April 2,

2024, Plaintiff ’s counsel states it re-sent its Request for Admissions to the Defendant via regular and

certified mail, out of an abundance of caution and to afford the Defendant an opportunity to

review and respond to Plaintiff ’s Request for Admission prior to trial. Exhibit C of the Affidavit of

Kristine DelGenio reflects a USPS tracking information from the USPS website indicates certified

mail was “delivered, by individual picking up at post office” on April 10, 2024 in Gardiner, ME. This

Honorable Court finds that good cause exists to deny the Defendant’s Motion Objecting to the Use

of Plaintiff ’s Request for Admissions, and states Defendant had ample opportunity to raise an issue

and object to Plaintiff ’s proposed trial exhibits, and never was an issue raised regarding the proposed

trial exhibits until April 1, 2024, this Court hereby denies Defendant’s Motion Objecting to the Use

of Plaintiff ’s Request for Admissions, and alternatively allows the Defendant twenty (20) days to
respond to Plaintiff ’s said Request for Admissions, although outside the Scheduling Order deadline

for completion of discovery.




SO ORDERED:
                                      ______________________________
                                      U.S. Magistrate Judge




Dated this ______ day of _________________ 2024.
